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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                         §
                                                §
 FREE SPEECH SYSTEMS, LLC,                      §          Case No. 22--60043
                                                §
                               DEBTOR.          §          (Subchapter V Debtor)
                                                §               Chapter 11




                     WITNESS AND EXHIBIT LIST
   FOR HEARING ON DEBTOR’S EMERGENCY MOTION TO AMEND INTERIM
          ORDER AUTHORIZING THE USE OF CASH COLLATERAL
                            [ECF. NO. 51]


 Judge:                     Hon. Christopher M. Lopez
 Hearing Date:              Friday, August 12, 2022
 Hearing Time:              1:00 p.m. (CT)
 Party’s Name:              Free Speech Systems, LLC
 Attorney’s Name:           Raymond W. Battaglia, Kyung S. Lee
 Attorney’s Phone:          (210) 601-9405; (713) 301-4751
 Nature of Proceeding:      Hearing on:
                               • Emergency Motion to Amend Interim Order Authorizing the
                                   Use of Cash Collateral [Docket No. 51]


          The Law Offices of Raymond W. Battaglia (the “Battaglia Firm”), general bankruptcy

counsel for Free Speech Systems, LLC (the “Debtor”) and Shannon & Lee LLP (“S&L”)

proposed co-counsel to the Debtor, in the above-captioned chapter 11 case (the “Chapter 11

Case”), hereby submit this witness and exhibit list in connection with the hearing to be held on

Friday, August 11, 2022 at 1:00 P.M.(Central Time) (the “Hearing”) on the pleading listed below.
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       •   Emergency Motion to Amend Interim Order Authorizing the Use of Cash Collateral [Docket
           No. 51].

                                             WITNESSES

           The Debtor may call any of the following witnesses at the Hearing, whether in person or

    by proffer:

           1. W. Marc Schwartz, Chief Restructuring Officer of Free Speech Systems, LLC;

           2. Patrick Reiley, Member, Blue Asension Logistics LLC;

           3. Any witnesses necessary to establish notice of the Hearing has been provided; and

           4. Any witnesses necessary to rebut the testimony of any witnesses called or designated
              by any other parties.

                                             EXHIBITS

           The Debtor may offer for admission into evidence any of the following exhibits at the

    hearing:


                                                                            Admitted
Ex.                     Description                   Offered   Objection     /Not       Disposition
                                                                            Admitted



1       Emergency Motion to Amend Interim Order
        Authorizing the Use of Cash Collateral
        [Docket No. 51].

2       13-Week Cash Collateral Budget

3       Blue Asension Logistics Price List




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       The Debtor reserves the right to supplement, amend or delete any witness and exhibits prior

to the Hearing. The Debtor also reserves the right to use any exhibits presented by any other party

and to ask the Court to take judicial notice of any document. The Debtor finally reserves the right

to introduce exhibits previously admitted.


       Respectfully submitted the 12th day of August, 2022.

                                              LAW OFFICES OF RAY BATTAGLIA, PLLC


                                              /S/ RAYMOND W. BATTAGLIA
                                              Raymond W. Battaglia
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                                              San Antonio, Texas 78218
                                              Tel. (210) 601-9405

                                              Proposed Counsel to the Debtor and Debtor-In-
                                              Possession

                                              -and-

                                              SHANNON & LEE LLP

                                              /s/ Kyung S. Lee
                                              Kyung S. Lee
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                                              Proposed Co-Counsel to the Debtor
                                              and Debtor in Possession




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                                 CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court and served
electronically upon those parties registered to receive electronic notice via the Court’s CM/ECF
system, as set forth below. I further certify that it has been transmitted by first class mail to the
parties on the attached service list.


                                                      /s/ Raymond W. Battaglia
                                                      Raymond W. Battaglia




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